Case: 4:07-cr-00763-HEA   Doc. #: 164 Filed: 06/23/08   Page: 1 of 6 PageID #:
                                     490
Case: 4:07-cr-00763-HEA   Doc. #: 164 Filed: 06/23/08   Page: 2 of 6 PageID #:
                                     491
Case: 4:07-cr-00763-HEA   Doc. #: 164 Filed: 06/23/08   Page: 3 of 6 PageID #:
                                     492
Case: 4:07-cr-00763-HEA   Doc. #: 164 Filed: 06/23/08   Page: 4 of 6 PageID #:
                                     493
Case: 4:07-cr-00763-HEA   Doc. #: 164 Filed: 06/23/08   Page: 5 of 6 PageID #:
                                     494
Case: 4:07-cr-00763-HEA   Doc. #: 164 Filed: 06/23/08   Page: 6 of 6 PageID #:
                                     495
